                                                                                                                                  Page 1 of 1
                   Case 2:17-cr-00206-JAK Document 14 Filed 06/27/17 Page 1 of 1 Page ID #:41
                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

                                           CRIMINAL MINUTES - ARRAIGNMENT
Case Number: 2:17-CR-00206                              Recorder: CS 06/27/2017                                Date: 06/27/2017

Present: The Honorable Steve Kim, U.S. Magistrate Judge

Court Clerk: Marc Krause                                               Assistant U.S. Attorney: Jenny Wang

United States of America v.               Attorney Present for Defendant(s)                 Language                  Interpreter
TREVON MAURICE FRANKLIN,                  SUMMER LACEY
aka Tre-Von M. King                           DFPD
       BOND-PRESENT



PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE .

Defendant is arraigned and states true name is as charged.

Defendant is given a copy of the Indictment.

Defendant acknowledges receipt of a copy and waives reading thereof.

Defendant pleads not guilty to all counts in the Indictment.

This case is assigned to the calendar of District Judge John A. Kronstadt.
It is ordered that the following date(s) and time(s) are set:
         Jury Trial 8/22/2017 at 9:00 AM
         Pre-trial Conference 8/10/2017 at 8:30 AM
         Defendant and counsel are ordered to appear before said judge at the time and date indicated.

        Counsel are referred to the assigned judge's trial/discovery order located on the Court's website, Judges' Procedures and Schedules.

        A joint report is due 07/11/2017. The last day to hear motions is 08/10/2017 at 8:30 AM.




                                                                                           First Appearance/Appointment of Counsel: 00 : 00
                                                                                                                                 PIA: 00 : 03
                                                                                                       Initials of Deputy Clerk: MK by TRB




   CR-85 (09/12)                                      CRIMINAL MINUTES - ARRAIGNMENT                                                Page 1 of 1




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